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                           UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF MARYLAND

United States of America                       *
                                               *       Case No.: 1:19-cr-00449
v.                                             *
                                               *
Kenneth Ravenell                               *
                                               *
               Defendant.                      *

*      *       *       *       *       *       *       *      *       *      *      *       *          *


                            RULE 33 MOTION FOR NEW TRIAL

       For the reasons stated in the accompanying Memorandum of Law in Support, Defendant

Kenneth Ravenell, by and through undersigned counsel, hereby respectfully moves this Court for

a new trial pursuant to Fed. R. Crim. P. 33, which permits the Court, upon defendant’s motion, to

“vacate any judgment and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P.

33(a). As stated in the accompanying memorandum, the instructions upon which the jury issued

its verdict contained certain prejudicial errors that mandate Mr. Ravenell’s conviction be vacated.

Moreover, independent of the jury instruction errors, Mr. Ravenell’s conviction must be

overturned under Yates v. United States, 354 U.S. 298 (1957), because the government presented

multiple theories of guilt, at least some of which were legally infirm, and it is impossible to

determine which theory the jury relied upon in issue its general verdict. Pursuant to Fed. R. Crim.

P. 33, the interests of justice require granting Mr. Ravenell a new trial.




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April 1, 2022                       Respectfully submitted,

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                                    /s/ Aislinn Affinito
                                    ______________________________
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 1st day of April, 2022, I caused a copy of Defendant’s

Motion for New Trial, and accompanying papers and exhibits, to be served upon counsel for

the United States of America via ECF and by email, and true and correct copies of the filing

are available to all parties through ECF or Pacer.




                                                       /s/ Aislinn Affinito
                                                       ______________________________
                                                       Aislinn Affinito
                                                       Attorney for Kenneth Ravenell




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